                      Case 2:07-cr-00282-WKW-CSC
'AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case                   Document 519 Filed 08/20/10   Page 1 of 6
                                                                                                      (NOTE: Identif' Changes with Asterisks (*))
           Sheet I


                                            UNITED STATES DISTRICT COURT
                           MIDDLE                                         District of                                   ALABAMA
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                                   Case Number:                      2:07cr282-Ol i-WKW
             THOMAS GEORGE HARTMAN                                                                                   (WO)
                                                                                   USM Number:                       12367-002
Date of Original Judgment: 1/13/2009                                               I.M. Winter, Jr.
(Or Date of Last Amended Judgment)                                                 Defendant's Attorney
Reason for Amendment:
U Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                        Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
U Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   U Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(l))
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            U Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   U Direct Motion to District Court Pursuant IJ 28 U.S.C. § 2255 or
                                                                                            18 U.S.C. § 3559(c)(7)
                                                                                   U Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s)             is of the Second Superseding Indictment on July 22, 2008
Upleaded nob contendere to count(s) __________________________________________________________________________________
    which was accepted by the court.
LI was found guilty on count(s) -______________________________________________________________________________________
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                 Offense Ended                 Count
21:846                              Conspiracy to Possess with Intent to Distribute and                              1/31/2008                        is
                                    Distribution of Methamphetamine



       The defendant is sentenced as provided in pages 2                                       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
U The defendant has been found not guilty on count(s)
X Count(s)          1 of the Indictnient         X is U are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   August 20, 2010




                                                                                   Signature of J dge
                                                                                  W. KEITH WATKINS, UNITED STATES DISTRICT JUDGE
                                                                                  Name and Title of Judge
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                         (NOTE: ldentif' Changes with Asterisks (*))
                                                                                                      Judgment Page        2       of          6
DEFENDANT:    THOMAS GEORGE HARTMAN
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                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term

(*) 70 Months




X The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where intensive drug treatment and vocational training are available.
     Defendant is known to be an excellent mechanic and would benefit from current vocational training in that field.


X The defendant is remanded to the custody of the United States Marshal.

LI The defendant shall surrender to the United States Marshal for this district:

     LIat _____________________ LI a.m.                         LI p.m.         on ______
     LI    as notified by the United States Marshal.

LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     LI    before 2 p.m. on -_________________________

     LI    as notified by the United States Marshal.

     LI as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                            to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                        By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 3 - Supervised Release                                                                    (NOTE: ldentif' Changes with Asterisks (*))
                                                                                                        Judgment—Page         3     of          6
DEFENDANT:     THOMAS GEORGE HARTMAN
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of

5 Years




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
Li The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
LI The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
Li The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
       each month;
  3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)   the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6)   the defendant shall notif' the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
 11)   the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
       record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3C - Supervised Release                                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                                Judgment—Page         4     of          6
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                                         SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may include testing to determine
whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any treatment based on ability to pay and the availability of
third-party payments.


Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AU 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties                                                           (NOTE: Identifi Changes with Asterisks (*))
                                                                                                    Judgment - Page       5      of            6
DEFENDANT:                        THOMAS GEORGE HARTMAN
CASE NUMBER:                      2:07cr282-01 1-WKW
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                          Fine                               Restitution
TOTALS            $ 100                                            $                                    $


El The determination of restitution is deferred until                  An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

El The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss*                           Restitution Ordered                  Priority or Percentage




TOTALS                              $                                         $


El Restitution amount ordered pursuant to plea agreement $

El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

El The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     El the interest requirement is waived for El fine                 El restitution.
     El the interest requirement for the El fine               El restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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 AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6— Schedule of Payments                                                                  (NOTE: Identif' Changes with Asterisks (*))
                                                                                                         Judgment—Page         6      of         6
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                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
 A X Lump sum payment of$ 100                                   due immediately, balance due

                notlater than          _____________________ , or
           LI in accordance with LI C, LI D, [I] E, or [I] F below; or

 B LI Payment to begin immediately (may be combined with Li C,                       LI D, or LI F below); or

C LI Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of S ____________ over a period of
       ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or

D LI Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
       ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or

E LI Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F LI Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box 711,
           Montgomery, AL 36101.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




LI Joint and Several


     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




LI The defendant shall pay the cost of prosecution.

LI The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
